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                           UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF GEORGIA
                                    MACON DIVISION

In re:                                                      Case No. 13-51308-JPS
         Sylvia Ann Spivey

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Camille Hope, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 05/23/2013.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 12/17/2013.

         6) Number of months from filing to last payment: 5.

         7) Number of months case was pending: 9.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $6,201.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

         Total paid by or on behalf of the debtor                  $900.00
         Less amount refunded to debtor                              $0.00

 NET RECEIPTS:                                                                                      $900.00


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                 $620.00
     Court Costs                                                             $0.00
     Trustee Expenses & Compensation                                       $100.00
     Other                                                                   $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                  $720.00

 Attorney fees paid and disclosed by debtor:                     $0.00


 Scheduled Creditors:
 Creditor                                       Claim         Claim          Claim       Principal      Int.
 Name                                 Class   Scheduled      Asserted       Allowed        Paid         Paid
 Afni, Inc.                       Unsecured         392.00           NA            NA            0.00       0.00
 Asset Acceptance LLC             Unsecured            NA       1,153.56      1,153.56           0.00       0.00
 Budget Auto Sales                Secured        3,100.00       2,782.92      2,782.92        180.00        0.00
 CREDIT BUREAU ASSOCIATES         Unsecured          54.00           NA            NA            0.00       0.00
 Credit Management Cont           Unsecured         433.00           NA            NA            0.00       0.00
 EOS CCA                          Unsecured         401.00           NA            NA            0.00       0.00
 IC SYSTEM, INC.                  Unsecured         316.00           NA            NA            0.00       0.00
 LVNV FUNDING LLC                 Unsecured            NA         223.91        223.91           0.00       0.00
 LVNV FUNDING LLC                 Unsecured            NA         431.57        431.57           0.00       0.00
 Nco Fin /99                      Unsecured         331.00           NA            NA            0.00       0.00
 Nco Fin /99                      Unsecured          95.00           NA            NA            0.00       0.00
 RJM ACQUISITIONS FUNDING, LLC    Unsecured            NA          72.59         72.59           0.00       0.00
 STALLINGS FINANCIAL GROUP, INC   Unsecured         338.00           NA            NA            0.00       0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                     $0.00              $0.00              $0.00
       Debt Secured by Vehicle                            $2,782.92            $180.00              $0.00
       All Other Secured                                      $0.00              $0.00              $0.00
 TOTAL SECURED:                                           $2,782.92            $180.00              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00               $0.00            $0.00
        Domestic Support Ongoing                               $0.00               $0.00            $0.00
        All Other Priority                                     $0.00               $0.00            $0.00
 TOTAL PRIORITY:                                               $0.00               $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                              $1,881.63                $0.00            $0.00


 Disbursements:

         Expenses of Administration                               $720.00
         Disbursements to Creditors                               $180.00

 TOTAL DISBURSEMENTS :                                                                         $900.00


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 02/24/2014                             By:/s/ Camille Hope
                                                                         Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                         UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF GEORGIA


IN RE:                                             CHAPTER 13

Sylvia Ann Spivey                                  CASE NO: 13-51308-JPS
PO Box 14621
Macon, GA 31203                                    ATTORNEY: David Judah Attorney at Law
                                                             LLC


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of this Final Report has been served
on the debtor's attorney via electronic notice, and mailed postage prepaid to the debtor at their
address shown below.

Via Electronic Notice: David Judah Attorney at Law LLC


Via U.S. Mail:          Sylvia Ann Spivey
                        PO Box 14621
                        Macon, GA 31203



       DATED: February 24, 2014                    /s/ Camille Hope
                                                   Camille Hope, Trustee
                                                   MIDDLE DISTRICT OF GA
                                                   P.O. BOX 954
                                                   MACON, GA 31202-0954
                                                   (478)742-8706
